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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
        v.                                        :           Crim No. 1:22-cr-00354-RCL
                                                  :
RICHARD SLAUGHTER, and                            :
CADEN PAUL GOTTFRIED,                             :
                                                  :
             Defendants.                          :

                     MOTION IN LIMINE TO EXCLUDE EXPERT
                 TESIMONY AND REQUEST FOR DAUBERT HEARING

       The United States of America hereby moves in Limine to exclude the Defendants’ proposed

expert witness, Steven Hill, as an expert on the use of force on January 6, 2021. See Def. Notice,

Doc. 50 at 4. Mr. Hill should be rejected as an expert in this matter for the same reasons he has

been rejected as an expert in several other January 6 related cases. See, e.g., United States v.

Kenneth Joseph Own Thomas, No. 21-cr-552 (DLF), 5/12/23 Minute Entry (“For the reasons stated

at the May 12, 2023 pre-trial conference, the government’s [87] Motion to Exclude the proposed

expert testimony of Mr. Steve Hill and [106] Motion to Exclude the proposed expert testimony of

Norbert J. Michel are GRANTED.”); United States v. Alberts, No. 21-CR-26 (CRC), 4/14/23

Minute Entry (“The Government’s [123] motion to exclude proposed defense expert witnesses

Steven Hill and Dick Heller is hereby Granted for the reasons stated in open court on April 11.”);

United States v. Pezzola, No. 1:21-cr-175-TJK (6) (Tr. of Jury Trial Day 61 at 17299-30); United

States v. Barnett, No. 1:21-cr-38-CRC; United States v. Rhodes, No. 1:22-cr-15-APM, ECF Nos.

267, 285.

                                        I. BACKGROUND

       The defendants are charged in the superseding indictment with several felony offenses

related to their participation in the riot at the U.S. Capitol on January 6, 2021. Defendant Slaughter
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is charged with: Robbery, in violation of 18 U.S.C. § 2111 (Count One); Assaulting Certain

Officers, in violation of 18 U.S.C. § 111(a)(1) and (b) (Count Two); Assaulting Certain Officers

and Aiding and Abetting, in violation of 18 U.S.C. § 111(a)(1) and (b) and 2 (Count Three); Civil

Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count Five); Entering and Remaining in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

§§ 1752(a)(1) and (b)(1)(A)) (Count Seven); Disorderly and Disruptive Conduct in a Restricted

Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(2))

and (b)(1)(A) (Count Nine); and Engaging in Physical Violence in a Restricted Building or

Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(4) and

(b)(1)(A) (Count Eleven).

       Defendant Gottfried is charged with: Assaulting Certain Officers, in violation of 18 U.S.C.

§ 111(a)(1) (Count Four); Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (Count Six);

Entering and Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1)

(Count Eight); Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of 18 U.S.C. § 1752(a)(2) (Count Ten); and Engaging in Physical Violence in a Restricted Building

or Grounds, in violation of 18 U.S.C. § 1752(a)(4) (Count Twelve).

       Both defendants are charged with committing an Act of Physical Violence in the Capitol

Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F) (Count Thirteen).

       On August 25, 2023, the defense noticed an expert witness, Steven K. Hill, who the defense

represented would testify to “use of force and police civil liability,” and more specifically:

       1.     There was excessive force used by numerous law enforcement personnel
       employed by the Metropolitan Police Department.
       2.     This excessive force consisted of massive deployment of irritants, gasses,
       and spray munitions in an extremely enclosed areas [sic], in violation of all
       governing use of force manuals and policies.
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        3.      This excessive force also included beatings by baton strikes to the heads
        and faces of several demonstrators who did not pose a lethal threat, in violation of
        all governing use of force manuals and policies.
        4.      Failures to properly announce and warn members of the public regarding
        deployment of less-than-lethal munitions, in violation of every governing manual
        and policy.

Hill Notice, Doc. 50 at 2, 4. The Notice had several deficiencies under Federal Rule of Criminal

Procedure 16 that the government highlighted in its Notice of Defendants’ Rule 16 Disclosure

Deficiency. See Doc. 55. The government’s Deficiency Notice included a request to cure the

deficiencies, but to date, the government has not received an amended expert notice from defense

counsel.

                                          II. ARGUMENT

        Under Federal Rule of Criminal Procedure 16, a defendant must make expert disclosures

by a deadline “sufficiently before trial to provide a fair opportunity for the government to meet the

defendant’s evidence.” Fed. R. Crim. P. 16(b)(1)(C)(ii). The disclosure for each expert witness

must contain, (1) “a complete statement of all opinions that the defendant will elicit from the

witness in the defendant’s case-in-chief,” (2) “the bases and reasons for them,” (3) “the witness’s

qualifications, including a list of all publications authored in the previous 10 years,” and, (4) “a list

of all other cases in which, during the previous 4 years, the witness has testified as an expert at trial

or by deposition.” Fed. R. Crim. P. 16(b)(1)(C)(iii).

        Federal Rule of Evidence 702 principally governs the admission of expert testimony:

        A witness who is qualified as an expert by knowledge, skill, experience, training,
        or education may testify in the form of an opinion or otherwise if: (a) [t]he expert’s
        scientific, technical, or other specialized knowledge will help the trier of fact to
        understand the evidence or to determine a fact in issue; (b) [t]he testimony is based
        on sufficient facts or data; (c) [t]he testimony is the product of reliable principles
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       and methods; and (d) [t]he expert has reliably applied the principles and methods
       to the facts of the case.

Fed. R. Evid. 702. The Court has “the responsibility of acting as [a] ‘gatekeeper[]’ to shield

unreliable or irrelevant expert testimony and evidence from the jury. United States v. Sutton, No.

CR 21-0598 (PLF), 2022 WL 16960338, at *2 (D.D.C. Nov. 16, 2022) (citing Daubert v. Merrell

Dow Pharms., Inc., 509 U.S. 579, 597 (1993)). Thus, “the twin requirements for the admissibility

of expert testimony are evidentiary reliability and relevance.” FTC v. Whole Foods Mkt., Inc., No.

1 : 07-cv-1021 (PLF), 2007 WL 7632283, at *1 (D.D.C. July 27, 2007).

       ‘‘With respect to relevance, the Court must determine whether the proffered testimony is

sufficiently tied to the facts of the case and whether it will aid the factfinder in resolving a factual

dispute.” FTC v. Whole Foods Mkt., Inc., 2007 WL 7632283, at *1 (citing Daubert, 509 U.S. at

592-93). In addition to presenting reliable and relevant testimony, “an expert witness also must be

“qualified” under Rule 702[,]” such that they possess sufficient “knowledge skill, experience,

training or education,” for their conclusions. In re Rail Freight Fuel Surcharge Antitrust Litig., 292

F. Supp. 3d 14, 49 (D.D.C. 2017) (quoting Fed. R. Evid. 702).

       The defendant cannot meet these standards, at least not on the topics for which his claimed

expert testimony is proposed.

       A. The Expert Notice is deficient.

       Despite the government’s requests for a Rule 16-compliant expert notice, the defense has

not complied. Accordingly, this Court may preclude Mr. Hill’s testimony as an expert on this

basis alone.

       B. Mr. Hill’s Testimony is irrelevant and inadmissible under Rule 403.

       Even if the defense’s failure to provide a proper Federal Rule of Criminal Procedure 16

notice of its intended expert is excused, Mr. Hill’s testimony is both irrelevant and inadmissible
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under Federal Rule of Evidence 403. Though the defendants’ Notice nominally claims that the

defense intends to present a “justifiable use of force” defense, see Doc. 50 at 1, the Notice does not

explain how Mr. Hill’s expert testimony is relevant to establishing that defense. Other courts in

this district, under similar circumstances in similar cases, have therefore concluded that Mr. Hill’s

testimony is inadmissible as a result:

       With respect to Mr. Hill, expert testimony on excessive force by Capitol Police is
       not relevant to what the Court understands to be the potential self-defense claims
       by Mr. Alberts. Whether officers violated certain policies or standards in trying to
       control the crowd does not inform whether Mr. Alberts reasonably believed that he
       faced imminent threat of death of serious bodily harm or whether he could have
       taken actions to avoid any such threat.

       Any threat by the officers or from the officers can be established through the videos
       and percipient witness testimony. There’s not a need for an expert to say whether
       the officers’ actions violated some rule or standard.

       Even if the Mr. Hill were qualified to testify about the rules of engagement
       governing Capitol Police officers specifically, which the notices do not establish,
       and even if Mr. Hill’s proposed testimony had some marginal relevance, it is still
       inadmissible under 403 because it would risk confusing the jury about the relevant
       elements of any self-defense claim, and that risk substantially outweighs whatever
       probative value the testimony would have.

United States v. Alberts, No. 21-CR-26 (CRC), 4/11/23 Trial Tr. 258:2-21.

       Similarly, in United States v. Pezzola, No. 1:21-cr-175-TJK (6) Judge Kelly excluded Mr.

Hill’s proposed expert testimony “both on notice grounds and on relevance grounds and on 403

grounds, to the extent there is any relevance, because I do think it would be extremely difficult for

the jury, even if there was some relevance to it, to pull that apart from a, sort of, self-defense

theory that I’ve excluded and that Mr. Pezzola is not saying he’s offering that for.” See Pezzola,

No. 1:21-cr-175-TJK (6), Tr. of Jury Trial Day 61 at 17299-30. Mr. Hill’s proposed expert

testimony about the officers’ use-of-force on January 6, 2021 also has been excluded in United
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States v. Barnett, No. 1:21-cr-38-CRC, and in United States v. Rhodes, No. 1:22-cr-15-APM.

       The Court should reach the same conclusion here.

       C. Mr. Hill cannot be qualified as an expert in “use of force and police civil liability.”

       Even if the subjects of his testimony were relevant and admissible – which they are not –

Mr. Hill is not qualified to speak on the topics for which the defendants have noticed him as an

expert and seeks to allow the jury to hear his unfounded opinions. And Mr. Hill’s trial testimony

would be limited to the contents of his Rule 16 notice. See United States v. Robinson, 258 F. Supp.

3d 85, 86 (D.D.C. 2017) (granting government’s motion in limine to exclude expert testimony not

previously disclosed). According to the defendants’ notice, they specifically wish to call Mr. Hill

to opine based upon unidentified video evidence that unidentified officers engaged in excessive

force and otherwise acted contrary to unspecified law enforcement training, policies, and

procedures. See Doc. 50.

       Though the defense has failed to timely provide Mr. Hill’s curriculum vitae, see Docs. 50,

55, the government reviewed the curriculum vitae that defense counsel submitted in another case,

see United States v. Kenneth Joseph Own Thomas, 21-cr-552 (DLF), ECF No. 85-1. Assuming Mr.

Hill’s curriculum vitae remains substantially the same as when defense counsel submitted it in

April, Mr. Hill’s background and experience do not qualify him as an expert to opine on the noticed

topics: Mr. Hill is not a current or former USCP or MPD officer, does not appear to have undergone

training as a USCP or MPD officer, and claims no familiarity with the policies and procedures of

USCP or MPD. Mr. Hill worked as a police officer in Albuquerque, New Mexico, and as a systems

engineer at the Sandia National Laboratory from 1986 until the present. Id. Although he claims to

have trained dignitaries and students in topics including less-lethal munitions between 2000 and

2003, while he intermittently served as an adjunct instructor at the Department of Energy National
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Training Center, id. at 3, his knowledge of the subject matter of his testimony appears to be sparse

and dated.

       There is no indication that Mr. Hill ever served in a riot control capacity or is familiar with

the less-lethal tools employed by the USCP and MPD on January 6, 2021 or at any time. Mr. Hill

appears to have no background or experience with the protection of Congress and the Capitol

Building or any of the relevant law enforcement agencies – USCP, MPD, U.S. Secret Service

(“USSS”), or any of the law enforcement agencies from Virginia and Maryland that responded to

the Capitol on January 6 to provide aid and support to the staggeringly outnumbered local

departments – and he certainly does not have the specialized experience that would qualify him as

an expert on these agencies’ performance of their duties on January 6, 2021. He does not claim

knowledge about the crowd control techniques or devices utilized by the USCP, MDP, or USSS or

the conditions under which they were used on January 6, 2021. Consequently, there is no basis for

allowing him to muse to the jury about what he thinks the USCP, MDP, or USSS should have done

differently to deter the defendants (who repeatedly attacked various of these officers over the

course of numerous hours), clear the rioters, secure the building, and resume the certification

proceeding. These are matters beyond his knowledge and experience. On these topics, he is at best

an outsider or armchair quarterback, not an expert.


                                        III. CONCLUSION

       For all of the foregoing reasons, the United States respectfully requests that the Court

exclude Mr. Hill as an expert in this case. In the alternative, the United States requests a Daubert

hearing to assess the suitability of Mr. Hill to testify as an expert in the subjects identified in the

Hill Notice, Doc. 50.
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                           Respectfully submitted,

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